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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   INDIANAPOLIS DIVISION


    UNITED STATES OF AMERICA,                          )
                                                       )
                                 Plaintiff,            )
                                                       )
                         vs.                           )       1:11-cr-00191-SEB-DKL-3
                                                       )       1:12-cr-00023-SEB-DML
    JOHN REX POWELL,                                   )       1:14-cr-00201-SEB-DKL
                                                       )
                                 Defendant.            )

                               The Honorable Sarah Evans Barker, Judge
                                      Entry for March 12, 2015

         On this date, Defendant appeared in person, in custody, together with Counsel Kathleen

  Sweeney and Charles Hayes, and the Government appeared by AUSA Steven DeBrota, together with

  the Government’s investigative agent, Brian Bone. Michelle Fitzgerald appeared on behalf of the

  United States Probation Office. The hearing was reported by Court Reporter, Jean Knepley.

     •   The sentencing hearing resumed.

     •   The victim’s family was present via video teleconference.

     •   The parties were heard with respect to the sentence and application of the Sentencing
         Guidelines.

     •   Sentence was imposed as stated on the record, including:

             Incarceration: 360 months on each count, to run concurrently
             (Count 1 in 1:11-cr-191, Count 1 in 1:12-cr-00023, and Count 1 in 1:14-cr-00201)
             Supervised Release: Lifetime
             Special Assessment: $300.00
             Restitution: $303.020.00

     •   The Court granted the Government’s oral request to dismiss the remaining counts. The
         Government will follow up with a written motion
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     •   Defendant was remanded to the custody of the U.S. Marshal.

     •   The proceedings were adjourned




  Distribution: All ECF counsel of record
